Case 2:05-cv-02361-SHI\/|-dkv Document 20 Filed 08/05/05 Page 1 of 3 Page|D 18

Fn.ED BY ___“__._ D.C-
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRIC'I' OF TENNESSB§ AUG -5 AH|O: 214
WESTERN DIVISION

 

     
   
 

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ALLEGIANCE MORTGAGE sERvIcEs, INC. W'D§.s;-'» x

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Plaintiff,

VS. NO. 05-236l-MaV

INFINI'I‘Y DATA CORP., E'I‘ AL. ,

Defendants.

 

ORDER GRANTING MOTION 'I‘O APPEAR PRO HAC VICE

 

Before the court is the August l, 2005, motion for admission
pro hac Vice of Ann M. Caldwell. Ms. Caldwell is a member in
good standing of the bar of the state of Pennsylvania and is
admitted to practice before the Pennsylvania Supreme Court. Ns,
Caldwell has obtained and is familiar With the local rules and
professional guidelines of this court. For good cause shown, the
motion is granted and Ann M. Caldwell is admitted to participate
in this action as counsel for plaintiff.

It is so ORDERED this ‘1JLday of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RIC'I‘ JUDGE

 

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This notice confirms a copy of the document docketed as number 20 in
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Honorable Samuel Mays
US DISTRICT COURT

